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UNITED STATES DISTRICT COURT
FOR THE CENTRAL DISTRICT OF CALIFORNIA

January 2019 Grand Jury

UNITED STATES OF AMERICA, TIER 4 0 ee 9 5 -CHS
Plaintiff, tN BTC hie Ee NY
Vv. [21 U.S.C. §$§ 841 (a) (1),
(b) (1) (C): Distribution of
EDWARD BUCK, Controlled Substances Resulting in
Death; 21 U.S.C. §§ 841 (a) (1),
Defendant. (b) (1) (C): Distribution of
Controlled Substances ]

 

 

 

The Grand Jury charges:
INTRODUCTORY ALLEGATIONS

1. Beginning on a date unknown, but not later than July 2017,
and continuing through on or about September 17, 2019, defendant
EDWARD BUCK (“BUCK”) engaged in a pattern of soliciting men to
consume drugs that BUCK provided and perform sexual acts at BUCK’s
apartment, located at 1234 North Laurel Avenue, Apartment #17, West
Hollywood, California 90046 (hereinafter, “BUCK’s Residence”). The
practice of using drugs in conjunction with, or immediately
preceding, sexual activity is commonly referred to as “party and
play.” In these party and play sessions, BUCK distributed drugs,

including methamphetamine, to his victims, and in some instances,

 

 
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injected them with drugs intravenously in a practice known as
“slamming.” BUCK exerted power over his victims, often targeting
vulnerable individuals who were destitute, homeless, and/or struggled
with drug addiction, in order to exploit the relative wealth and
power imbalance between them.

2. BUCK solicited his victims in various ways. He solicited
them via social media platforms, including but not limited to
Adam4Adam, a gay male dating and escort website. BUCK indicated on
his Adam4Adam profile that he was looking for men with whom he could
“party and play.” He also solicited men via referrals from his prior
victims, and used a “recruiter” who scouted men, propositioned them
on BUCK’s behalf, and brought them to BUCK’s Residence to engage in
party and play for compensation.

3, At BUCK’s Residence, BUCK distributed and attempted to
distribute methamphetamine and other controlled substances to his
victims. At BUCK’s Residence, BUCK prepared syringes containing a
mixture or substance containing methamphetamine. BUCK sometimes
personally injected his victims, with and without their consent.

BUCK pressured victims to let him personally inject them; he also
distributed syringes filled with methamphetamine so victims could
self-inject. In addition to injections, BUCK distributed
methamphetamine to be smoked. BUCK pressured, coerced, and/or
incentivized his victims to consume drugs, sometimes offering a
premium payment to victims who would consume more drugs, try new
drugs, or let BUCK inject them with drugs. In some instances, BUCK
injected his victims with larger quantities of drugs than they agreed
to receive, and in other instances, BUCK injected his victims while
they were unconscious. BUCK refused to pay or reduced pay to victims

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who would not consume drugs with him. On at least two occasions
described in this Indictment, BUCK distributed lethal quantities of
methamphetamine to his victims, resulting in death.

4, These introductory allegations are incorporated into each

count of the Indictment.

 
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COUNT ONE
[21 U.S.C. S§ 841 (a) (1), (b) (1) (C)]

On or about July 27, 2017, in Los Angeles County, at BUCK’s
Residence, within the Central District of California, defendant
EDWARD BUCK knowingly and intentionally distributed a mixture or
substance containing a detectable amount of methamphetamine, a
Schedule II controlled substance, to Gemmel Moore, whose death and

serious bodily injury resulted from the use of such substance.

 
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COUNT TWO
[21 U.S.C. §§ 841(a) (1), (b) (1) (C) ]

On or about January 7, 2019, in Los Angeles County, at BUCK’s
Residence, within the Central District of California, defendant
EDWARD BUCK knowingly and intentionally distributed methamphetamine,
a Schedule II controlled substance, to Timothy Dean, whose death and

serious bodily injury resulted from the use of such substance.

 
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COUNT THREE
[21 U.S.C. §§ 841 (a) (1), (b) (1) (C)]
On or about May 15, 2018, in Los Angeles County, at BUCK’s
Residence, within the Central District of California, defendant
EDWARD BUCK knowingly and intentionally distributed methamphetamine,

a Schedule II controlled substance, to C.S.

 
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COUNT FOUR
[21 U.S.C. §§ 841(a) (1), (b) (1) (Cc) )
On or about December 2, 2018, in Los Angeles County, within the
Central District of California, defendant EDWARD BUCK knowingly and
intentionally distributed methamphetamine, a Schedule II controlled

substance, to C.H.

 
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COUNT FIVE
[21 U.S.C. §§ 841(a) (1), (b) (1) (C) J
On or about September 4, 2019, in Los Angeles County, at BUCK’s
Residence, within the Central District of California, defendant
EDWARD BUCK knowingly and intentionally distributed methamphetamine,

a Schedule II controlled substance, to D.B.

A TRUE BILL

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Foreperson

NICOLA T. HANNA
United States Attorney

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BRANDON D. FOX
Assistant United States Attorney
Chief, Criminal Division

CAROL CHEN

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